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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X

In re

EDWARD J. GONZALEZ,                                                    Case No. 22-71280-ast

                                                                       Chapter 11
                                          Debtor
--------------------------------------------------------X

    DECLARATION OF NORMA E. ORTIZ IN RESPONSE TO LETTER FILED BY
                EDWARD GONZALEZ AS ECF NUMBER 67

         Norma E. Ortiz hereby declares as follows:

                                              BACKGROUND

         1.      The Debtor filed a voluntary Chapter 11 petition on June 1, 2022 (the

“Petition Date”). My firm was retained as counsel shortly before the sale of one of the parcels of

property partially owned by the Debtor that is located in Jackson Heights. The Debtor owns a

partial interest in a property located in Brooklyn, his home in Dix Hills, and the Jackson Heights

property. The Debtor has informed the Court in writing that he filed his Chapter 11 petition to

delay the sale of the Jackson Heights property so that he could attempt to refinance the property

(the “Property”).

         2.      I filed a Declaration on March 8, 2023 that sets forth the background and

facts pertinent to the Debtor’s opposition to my firm’s fee application and the allegations he
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made against me. [Ecf No. 64] Because this matter has taken a significant amount of time and

resources from my firm, the Court, and the parties involved, I respectfully incorporate the

background and facts set forth herein.

       3.      Upon information and belief, based upon my last communication with Gary

Ravert, counsel to the secured creditor holding a mortgage on the Property, Mr. Gonzalez and

his family have not refinanced the Property. The Court entered an order authorizing my firm’s

withdrawal as counsel on January 26, 2023. My firm has not rendered any services to the Debtor

since on or about January 17, 2023.

       4.      When Mr. Gonzalez appeared before the Court at the fee application hearing and

orally accused me personally of, among other things, lying to him, using scare tactics, acting in

an unprofessional manner and hindering his efforts to obtain refinancing, I denied these

allegations and requested that he be required to file a sworn Declaration or Affidavit in

opposition to my firm’s fee application. The Court granted my request and Mr. Gonzalez was

directed to do so. On March 3, 2023, Mr. Gonzalez defied the Court’s direction and filed an

unsworn letter with the Court opposing my firm’s fee application. [Ecf No. 63] I filed a

Declaration in response to the objection under the penalty of perjury on March 8, 2023 under

Ecf. No. 64. The Court conducted a hearing and reserved decision on my firm’s fee application.

       5.      In response to Mr. Ravert’s recent letter request for a status conference filed as

Ecf No. 66, Mr. Gonzalez has – once again – chosen to file a repetition of his unsworn

allegations against me and engage in a second attempt to malign my character and

professionalism and restate his objection to my firm’s fee application in a 25 page letter with 20

pages of exhibits. However, this time, there is no motion pending before the Court. Moreover,

my firm can no longer be blamed by Mr. Gonzalez for his inability to obtain financing for the

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Property.

       6.      It would take my firm untold hours to discuss and refute Mr. Gonzalez’s

allegations and it would be patently unjust to require my firm to undertake the cost of responding

to an unsworn document that was not properly filed before the Court. I request that the Court

deny consideration of Mr. Gonzalez’s second letter in its entirety.

       I declare under the penalty of perjury that the foregoing is true to the best of my

knowledge and belief.

Dated: New York, New York
May 8, 2023
                                                             S/Norma Ortiz
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